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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )          Case No. 4:06CR3062-3
                     Plaintiff,              )
                                             )
       vs.                                   )          TENTATIVE
                                             )          FINDINGS
JEFF PONDER,                                 )
                                             )
                     Defendant.              )

       I am in receipt of the revised presentence investigation report in this case. Except
for the defendant’s motion for downward departure or deviation due to overstatement
of criminal history (filing 119), there are no objections or motions for departure or
variance.

       IT IS ORDERED that:

       (1) The undersigned will consult and follow the Guidelines to the extent
permitted and required by United States v. Booker, 125 S. Ct. 738 (2005). In this
regard, the undersigned gives notice that, unless otherwise ordered, he will (a) give the
advisory Guidelines substantial weight; (b) resolve all factual disputes relevant to
sentencing by the greater weight of the evidence and without the aid of a jury; (c)
impose upon the government the burden of proof on all Guideline-enhancements; (d)
impose upon the defendant the burden of proof on all Guideline-mitigators; (e) depart
from the advisory Guidelines, if appropriate, using pre-Booker departure theory; and
(f) in cases where a departure using pre-Booker departure theory is not warranted,
deviate or vary from the Guidelines only when there is a plainly superior, principled
reason which justifies a sentence different than that called for by application of the
advisory Guidelines.

       (2) The motion for departure or deviation due to overstatement of criminal
history (fling 119) is denied. The defendant will not be heard to complain that his
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sentence is being unreasonably enhanced as a result of his inability to pay his
obligations in another case when he has not provided the probation officer with a signed
financial statement in this case. Furthermore, absent a showing that the defendant
could not make the payments through no fault of his own, the failure to pay the financial
obligations of probation is just as serious as the failure to comply with other provisions
of probation. In short, the defendant’s criminal history is not overstated.

       (3) Except to the extent (if at all) that I have reserved an issue for later
resolution in the preceding paragraph, the parties are herewith notified that my tentative
findings are that the presentence report is correct in all respects.

         (4) If any party wishes to challenge these tentative findings, said party shall,
as soon as possible, but in any event at least five (5) business days before sentencing,
file in the court file and serve upon opposing counsel and the court a motion challenging
these tentative findings, supported by (a) such evidentiary materials as are required
(giving due regard to the requirements of the local rules of practice respecting the
submission of evidentiary materials), (b) a brief as to the law and (c) if an evidentiary
hearing is requested, a statement describing why an evidentiary hearing is necessary and
how long such a hearing would take.

       (5) Absent submission of the information required by the preceding
paragraph of this order, my tentative findings may become final and the presentence
report may be adopted and relied upon by me without more.

       (6) Unless otherwise ordered, any motion challenging these tentative findings
shall be resolved at sentencing.

      October 24, 2006.                     BY THE COURT:

                                            s/ Richard G. Kopf
                                            United States District Judge

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